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   14
                                    UNITED STATES DISTRICT COURT
   15
                                  CENTRAL DISTRICT OF CALIFORNIA
   16
        JAMES R. RUDSELL,                                 Case No. 5:12-cv-00692 VAP OP; and
   17                                                     Case No. 5:10-cv-00809-VAP-OP
                          Plaintiffs,
   18                                                     Hon. Virginia A. Phillips
                 v.
   19                                                     DEFENDANTS’ REPLY TO
      SWIFT TRANSPORTATION                                LAWRENCE PECK’S
   20 COMPANY OF ARIZONA, LLC, et al.                     OBJECTIONS TO PLAINTIFFS’
                                                          MOTION FOR PRELIMINARY
   21                     Defendants.                     APPROVAL OF THE PARTIES’
                                                          CLASS ACTION SETTLEMENT
   22            and
                                                          Date of Hearing: July 8, 2009
   23 JOHN BURNELL, et al.                                Time:            2:00 p.m.
                                                          Room:            8A – First Street
   24                     Plaintiffs,
   25            v.
   26 SWIFT TRANSPORTATION
        COMPANY OF ARIZONA, LLC
   27
                          Defendant
   28
                                                                       Case No. 5:12-cv-00692 VAP (OPx)
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    1                                   I.   INTRODUCTION
    2            Defendants Swift Transportation Co. of Arizona LLC and Swift
    3 Transportation Company hereby reply to Lawrence Peck’s objections to Plaintiffs’
    4 motion for preliminary approval of the class action settlement entered into by and
    5 between the parties to these consolidated actions. Defendants filed a notice of non-
    6 opposition to the motion on June 17, 2019. Docket No. 43.
    7            Preliminary approval should be granted, and Peck’s self-serving objections
    8 should be disregarded. All of Peck’s arguments against preliminary approval and
    9 conditional certification of the settlement class are without merit.         His primary
   10 argument—that the release is overbroad because Plaintiffs do not have “standing” to
   11 assert some of the claims encompassed by the release misstates the facts and
   12 misapprehends the law. Specifically, Peck claims Plaintiffs cannot release certain
   13 claims under the Private Attorneys’ General Act (PAGA) because they did not
   14 receive permission from the Labor and Workforce Development Agency (LWDA)
   15 to pursue those claims. This argument ignores the fact that Burnell did receive
   16 permission from the LWDA to pursue all of the released claims. While Burnell is
   17 not a party to the settlement, the released claims were actually litigated in the
   18 Burnell action. Regardless, Peck’s argument has nothing to do with “standing”—
   19 instead, it is an exhaustion of administrative remedies issue. Case law is clear that
   20 failure to exhaust administrative remedies is an affirmative defense, and can be
   21 waived. This was recently confirmed by the United States Supreme Court in Fort
   22 Bend County, Texas v. Davis, No. 18–525. Indeed, courts have approved the release
   23 of PAGA claims where there was no attempt to exhaust administrative remedies
   24 whatsoever. See Villacres v. ABM Indus. Inc., 189 Cal. App. 4th 562, 587 (2010).
   25            Peck’s other arguments also fail. His criticism of the methodology used by
   26 Plaintiffs to value the case is nothing more than conjecture unsupported by any
   27 evidence. Notably, despite the fact Peck’s lawyers have contact information for
   28 thousands of the settlement class members, they fail to submit even a single
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    1 declaration opposing the settlement.           Peck’s intent is obvious— he hopes to
    2 convince the Court to reject the settlement so that Defendants are forced to negotiate
    3 with his lawyers. This is not a legitimate reason to deny preliminary approval.
    4            The Court should grant preliminary approval of the settlement because it
    5 (1) results in a payment of $7.25 million to the settlement class members, is non-
    6 reversionary, and is fair, reasonable and adequate; (2) arose out of vigorous and
    7 contentious litigation; and (3) represents a reasonable settlement of all claims,
    8 including the PAGA claims.              Moreover, the Court should grant conditional
    9 certification of the settlement class because: (1) contrary to Peck’s claims, the
   10 proposed class definition identifies a readily ascertainable class (of 19,626 potential
   11 members); and (2) the settlement class meets the standards required by FRCP 23,
   12 which Peck fails to recognize are relaxed in the context of a settlement.
   13            For all these reasons, and as further detailed below, Defendants respectfully
   14 request that the Court grant preliminary approval of the settlement and conditionally
   15 certify the settlement class.
   16                           II.   ARGUMENT AND AUTHORITIES
   17            Court approval of a class action settlement involves a two-step process: “a
   18 preliminary approval followed by a later final approval.” See, Spann v. J.C. Penney
   19 Corp., 314 F.R.D. 312, 319 (C.D. Cal. 2016). Importantly, the standard of review
   20 differs at each stage. Id. At the preliminary approval stage, the Court need only
   21 “evaluate the terms of the settlement to determine whether they are within a range of
   22 possible judicial approval.” Wright v. Linkus Enters., Inc., 259 F.R.D. 468, 472
   23 (E.D. Cal. 2009). “Preliminary approval of a settlement has both a procedural and a
   24 substantive component.” In re Tableware Antitrust Litig., 484 F. Supp. 2d 1078,
   25 1080 (N.D. Cal. 2007). Procedurally, the Ninth Circuit emphasizes that the parties
   26 should have engaged in an adversarial process to arrive at the settlement.            See
   27 Rodriguez v. W. Publ’g Corp., 563 F.3d 948, 965 (9th Cir. 2009) (“We put a good
   28 deal of stock in the product of an arms-length, non-collusive, negotiated
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    1 resolution…”). “A presumption of correctness is said to attach to a class settlement
    2 reached in arm’s-length negotiations between experienced capable counsel after
    3 meaningful discovery.” Spann, 314 F.R.D. at 324. Substantively, courts look to
    4 “whether the proposed settlement discloses grounds to doubt its fairness or other
    5 obvious deficiencies such as unduly preferential treatment of class representatives or
    6 segments of the class, or excessive compensation of attorneys.” Alberto v. GMRI,
    7 Inc., 252 F.R.D. 652, 666 (E.D. Cal. 2008).
    8            Peck’s objections focus on whether the settlement is “fundamentally fair,
    9 adequate, and reasonable.” (See Opposition, Dkt 39). This, however, is the inquiry
   10 at the final approval stage. Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026 (9th
   11 Cir.1998); see also Allen v. Bedolla, 787 F.3d 1218, 1222 (9th Cir.2015). This
   12 inquiry requires the court to balance a number of factors, including: the strength of
   13 the plaintiff’s case; the risk, expense, complexity, and likely duration of further
   14 litigation; the amount offered in settlement; the extent of discovery completed and
   15 the stage of the proceedings; the experience and views of counsel; and the reaction
   16 of the class members to the proposed settlement.                 Hanlon, 150 F.3d at 1026.
   17 Notably, some of these factors—such as the reaction of class members—are not
   18 currently known and cannot even be assessed at the preliminary approval stage.
   19            Peck’s objections are premature and should be rejected on that basis alone.1
   20 Defendants nonetheless address Peck’s objections below.
   21
   22   1
          Peck does not have standing to object to the settlement at the preliminary approval stage.
        Because “[p]utative class members are not parties to an action prior to class certification,”
   23
        and class certification does not occur until preliminary approval is granted, Peck is a
   24   stranger to this case and has no standing to file anything without first obtaining leave to
        intervene under FRCP 24. Saleh v. Titan Corp., 353 F. Supp. 2d 1087, 1091 (S.D. Cal.
   25   2004) (“Putative class members are not parties to an action prior to class certification.”).
   26   Numerous cases hold that the proper time to consider objections is after notice of the
        settlement is distributed and in connection with final approval. See Roe v. SFBC Mgmt.,
   27   2017 U.S. Dist. LEXIS 57771, at *20 (N.D. Cal., April 14, 2017 Case No. 14-cv-03616)
        (“class members’ objections are deferred to the final fairness review”); Gonzalez v.
   28
        CoreCivic of Tenn., LLC, 2018 WL 3689564, at *12 (E.D. Cal. 2018) (“the objections are
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    1 A.         The Settlement Terms Are Within the Range of Reasonableness and
    2            Should Receive The Court’s Preliminary Approval
    3            The Court should grant preliminary approval of the proposed settlement
    4 because the settlement terms are within the range of judicial approval, do not
    5 include any obvious deficiencies, and are reasonable and fair to the settlement class
    6 members. As discussed in the moving papers, and as disclosed in the stipulated
    7 settlement, Defendants have agreed to a non-reversionary, “no claim form required”
    8 settlement of all claims in the amount of $7,250,000. See Stipulated Settlement
    9 Agreement, Hawkins Decl., Ex. 1. Peck argues that the agreement is unfair and that
   10 Plaintiffs’ motion should be denied because: (1) the Named Plaintiffs lack
   11 “standing” to sufficiently represent the settlement class members and the State for
   12 certain PAGA violations because they failed to exhaust their administrative
   13 remedies and therefore, the release of PAGA claims is overbroad; (2) the PAGA
   14 claims are undervalued; and (3) Named Plaintiffs failed to provide the Court with
   15 sufficient evidence to evaluate the class clams, including the claims for failure to
   16 provide meal and rest periods and failure to provide accurate wage statements. As
   17 explained further below, each of these arguments lacks merit.
   18            1.       The Scope of the Release is Appropriate
   19            Peck argues that Named Plaintiffs do not have standing to release some or all
   20 of the PAGA claims released by the settlement agreement because they did not
   21 exhaust their administrative remedies as to those claims, in particular the claim for
   22 failure to reimburse business expenses. This argument fails for numerous reasons.
   23
   24 premature as no settlement has yet been preliminarily approved.”); Id. at 3 n.2. (“The
      court has not yet granted preliminary approval to the settlement, and therefore has not
   25 approved any settlement containing PAGA claims. It is not yet time for prospective class
   26 members to object to that settlement. The proposed intervenor will have that opportunity
      if and when the settlement is preliminarily approved and class notice is distributed to the
   27 prospective class members.”). For the Court’s reference, attached to the Chamber’s Copy
      as Case No. 1, please find a true and correct copy of this case as it is unavailable on
   28
      Westlaw.
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    1            Even if Named Plaintiffs failed to exhaust their administrative remedies, the
    2 “failure to exhaust administrative remedies under the PAGA is an affirmative
    3 defense subject to waiver.” Batson v. UPS, 2012 2012 WL 4482782, at *6 (S.D.
    4 Cal. 2012). A PAGA judgment cannot be set aside for lack of jurisdiction just
    5 because the plaintiff failed to exhaust. See Brewer v. Premier Golf Props., 2008
    6 WL 5077666, at *12-17 (Cal. App. 2008). For example, Brewer held that “although
    7 [defendant] could have forced Brewer to comply with Section 2699.3 if it had timely
    8 raised the issue, [defendant] waived the exhaustion defense by waiting until after the
    9 judgment was entered to assert it.” 2 Id. In other words, only Defendants are in a
   10 position to assert that Named Plaintiffs failed to exhaust their administrative
   11 remedies, and Defendants have waived that argument for purposes of settlement
   12 (to the extent even necessary). A release of PAGA claims cannot be attacked by a
   13 third party on the basis that the plaintiffs purportedly did not identify all alleged
   14 violations of the California Labor Code in their letter(s) to the LWDA, particularly
   15 where, as here, the claims were actually litigated over a period of years. 3
   16
   17   2
          In an analogous ruling, the Supreme Court recently held that federal courts may hear
   18   discrimination claims under Title VII of the Civil Rights Act even if workers do not
        exhaust administrative remedies with the U.S. Equal Employment Opportunity
   19   Commission because such a defect is not jurisdictional in nature. Fort Bend County, Texas
        v. Davis. See Fort Bend County v. Davis, No. 18–525.
   20   3
           The Superior Court for the State of California’s County of Santa Clara dealt with this
   21   issue in Ocampo v. Jack in the Box, 2016 Cal. Super. LEXIS 221, *5-6 (Santa Clara
        County Superior Court, March 22, 2016, Case No. 2015-1-cv-275634). In that case, the
   22   plaintiff argued that a settlement of claims in a separate matter could not extinguish
        various PAGA claims in his case because multiple statutory PAGA requirements were not
   23
        met. Id. Specifically, Plaintiff argued that because the named plaintiff in the settled case
   24   never served a PAGA notice on the LWDA, the named plaintiff could not have prevailed
        on a PAGA claim and had no authority to settle it. Id. The court, however, disagreed,
   25   stating that “the fact that a party may ultimately be unsuccessful on a claim does not mean
   26   that the party cannot settle that claim” and that “the named plaintiff’s possible failure to
        comply with the statutory requirements of PAGA failed to establish that the waiver
   27   contained within the settlement agreement was ineffective.” Id. For the Court’s reference,
        attached to the Chamber’s Copy as Case No. 2, please find a true and correct copy of this
   28
        case as it is unavailable on Westlaw.
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     1            Moreover, California courts have expressly held that a broad release of Labor
     2 Code claims in a class action can bar subsequent PAGA actions by a class member,
     3 even where there was no PAGA claim in the first action and no attempt whatsoever
     4 to exhaust administrative remedies.           See Villacres, 189 Cal. App. 4th at 587.
     5 Indeed, the Villacres court went further, explaining that not only was the failure to
     6 pursue a PAGA claim in the first action irrelevant to the broad interpretation of the
     7 release, but the fact that none of the settlement proceeds in the agreement were
     8 allocated to PAGA claims was equally irrelevant and meaningless. Id.
     9            The Ninth Circuit recently examined a similar issue, namely whether the
    10 settlement of a state class action could release claims under the Fair Labor Standards
    11 Act (“FLSA”), even though FLSA claims cannot be litigated as class claims. See
    12 Rangel v. PLS Check Cashers of Cal., Inc., 899 F.3d 1106 (9th Cir. 2018). The
    13 Ninth Circuit ruled that a broad class release of state law claims in a Rule 23 class
    14 action did indeed bar related claims under the FLSA, just as the Villacres court held
    15 that a broad release of California Labor Code claims bars related claims that had not
    16 been initially pursued under PAGA. Id. Peck’s argument that the alleged failure to
    17 exhaust administrative remedies renders the settlement overbroad fails, and is does
    18 not warrant denial of preliminary approval. Regardless, Mr. Burnell exhausted his
    19 administrative remedies by sending a letter to the LWDA on September 11, 2009
    20 and Mr. Pollock exhausted his administrative remedies by sending a letter to the
    21 LWDA on October 8, 2010. Mr. Rudsell exhausted his administrative remedies in
    22 the same manner on January 11, 2012.
    23                     2.    Peck’s Argument that the Settlement Allocates an
    24                           Insufficient Amount to the PAGA Claims Fails
    25            Peck also argues that the Court should deny preliminary approval on the
    26 ground that more than $500,000 should be allocated to the PAGA claims so that the
    27 state of California is not “shortchanged.” Objection Brief, p. 19. This argument is
    28 misplaced and lacks merit. First, a larger allocation would deprive the settlement
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     1 class members of money because 75% of all funds allocated to the PAGA claims
     2 will go to the state. Indeed, by making this argument, Peck and his lawyers have
     3 violated their fiduciary obligations to the settlement class members.
     4            Moreover, Peck has no standing to challenge the settlement on behalf of the
     5 state. The LWDA received notice of Plaintiffs’ motion for preliminary approval
     6 pursuant to California Labor Code section 2699(l), and did not lodge any objections.
     7 The state clearly does not view the amount allocated to the PAGA claims to be
     8 inadequate or unfair. Finally, as noted in Named Plaintiffs’ motion for preliminary
     9 approval, $500,000 is an exceptionally large amount to allocate to PAGA claims.
    10 Defendants are confident the Court has granted preliminary approval of many wage-
    11 hour settlements with less funds allocated to the PAGA claim. See, for example,
    12 Ramonoa J. Hogue v. YRC, Inc., et al, Case No. 5:16-cv-01338-CJC-JEM (C.D. Ca.,
    13 June 24, 2019) (Order granting final approval of class action settlement for
    14 $700,000, designating only $20,000 to claims brought pursuant to PAGA) 4.
    15                     3.    The Settlement Appropriately Values Plaintiffs’ Claims
    16            Peck also argues that Named Plaintiffs have submitted insufficient evidence
    17 to the Court in support of their valuation of the case. This argument also fails.
    18            “In determining whether [a] proposed settlement falls within the range of
    19 reasonableness, perhaps the most important factor to consider is plaintiffs’ expected
    20 recovery balanced against the value of the settlement offer.” Cotter v. Lyft, Inc., 176
    21 F.Supp.3d 930, 935 (N.D. Cal. Apr. 7, 2016) (internal quotation omitted).
    22 “[W]hether a settlement is fundamentally fair within the meaning of Rule 23(e) is
    23 different from the question of whether the settlement is perfect in the estimation of
    24 the reviewing court.” Lane v. Facebook, Inc., 696 F.3d 811, 819 (9th Cir.2012)
    25 (emphasis added). Here, Plaintiffs’ motion explains in detail their valuation of the
    26 case—presenting evidence sufficient to establish that because the risk of obtaining
    27
         4
           For the Court’s reference, attached to the Chamber’s Copy as Case No. 3, please find a
    28
         true and correct copy of this Opinion.
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     1 and then maintaining class action status is extraordinarily high, as is the likely
     2 duration of further litigation, settlement is of great importance. As discussed in
     3 Named Plaintiffs’ motion but completely ignored by Peck, the outcome of these
     4 claims is far from certain given the ever-changing legal landscape applicable to
     5 wage-hour claims in California. Because “recovering at trial would be speculative”
     6 and the monetary amount recovered at trial, if any, “could vary widely depending on
     7 a number of factors,” settlement of all claims is merited. Id.
     8            Peck’s argument that the settlement amount is insufficient appears to be based
     9 on nothing but bravado—essentially, that Named Plaintiffs and their lawyers
    10 pursued foolish theories, that he is much smarter and his theories are far more
    11 viable, and that he would have settled the claims for more money. See Objection
    12 Brief, pp. 20-23. Peck devotes a significant portion of his brief to describing how
    13 much money he believes he would win at trial without ever acknowledging the
    14 possibility (and likelihood) that he might lose. He assumes 100 percent success on
    15 all of his theories without submitting any evidence whatsoever showing that any of
    16 his theories are viable on a class-wide basis—despite the fact he and his lawyers
    17 have contact information for thousands of settlement class members. Importantly,
    18 Peck has not obtained class certification in either of his cases against Swift nor any
    19 ruling on the merits regarding the viability of his claims. 5
    20            It is very easy for a lawyer to fall in love with his case and become
    21 overconfident in its potential for success.             It is also easy to second-guess a
    22 settlement and argue that some aspect of a case was not properly valued. But that is
    23
         5
    24     Peck has argued time and again in his state court PAGA case that he does not have
         sufficient discovery to try his case or properly value his claims. See Mussig Decl. ¶ 2. He
    25   has argued that he requires time, pay and other data applicable to all drivers in order to
    26   effectively try the case. Id. Defendants have not produced this data and have vigorously
         opposed Peck’s efforts to obtain the data as it would cost Defendants millions of dollars to
    27   produce. Id. Defendants understand the primary reason Peck and his lawyers agreed to a
         trial continuance in the state court PAGA case is that they do not believe they have
    28
         sufficient discovery to go to trial. Id.
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     1 not the standard for preliminary approval.           The standard is whether the overall
     2 valuation is reasonable in light of all the circumstances. There can be no doubt that
     3 a $7.25 million recovery falls within the range of reasonable recoveries by the
     4 settlement class members in the Rudsell/Burnell cases, particularly in light of the
     5 denials of class certification in Burnell, Mares, and McKinstry and the ever-evolving
     6 landscape of the law applicable to truck drivers. Accordingly, Peck’s objections to
     7 preliminary approval of the settlement should be rejected.
     8 B.         The Settlement is Procedurally Fair and Not the Result of Collusion
     9            The proposed settlement is clearly not the result of collusion. Class counsel
    10 has extensive experience litigating wage and hour class actions on the plaintiff side.
    11 See, e.g., Declaration of Stanley Saltzman ¶ 18. Further, the Burnell action was
    12 vigorously litigated over the course of almost ten years, including a contested class
    13 certification motion, a dozen 30(b)(6) depositions, and millions of documents.
    14 Given the parties’ vigorous and often contentious litigation of these cases, it is clear
    15 the proposed settlement is not the product of collusion, but “the product of an arms-
    16 length, non-collusive, negotiated resolution[.]” Rodriguez, 563 F.3d at 965.
    17            Moreover, the parties attended a mediation session on April 23, 2018 with
    18 experienced wage-and-hour mediator Mark Rudy, Esq. See Hawkins Decl. ¶ 7.
    19 And through Mr. Rudy took another month until May 2019, to reach a settlement
    20 figure. It took nearly a year to negotiate the terms. The fact that the parties utilized
    21 an experienced mediator to reach a settlement supports the fact that it was the
    22 product of arms-length negotiation. See Alberto, 252 F.R.D. at 666-67.
    23            Peck’s allegation that the proposed settlement resulted from collusion is
    24 largely based on the fact the parties did not include Peck and his lawyers in the
    25 settlement discussions. See Objection Brief at p. 30. Peck asserts that Defendants
    26 excluded him from the mediation process because his demand for settlement was too
    27 high. Id. at 31. As a preliminary matter, the parties were under no obligation to
    28 disclose the fact that they were discussing settlement to Peck or his lawyers. Peck
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     1 complains that the parties mediated on April 23, 2018 and preliminarily agreed on a
     2 settlement number on May 14, 2018, but he was not advised of the settlement until
     3 May 2019. Id. at 30. Peck also complains that Defendants discussed mediating
     4 with him after preliminarily agreeing to a settlement number with the
     5 Rudsell/Burnell lawyers. But Peck ignores the fact the Rudsell/Burnell settlement
     6 was not finalized until May 2019. Until a final agreement is consummated, it is
     7 not unreasonable, or even atypical, for a party to continue as if no deal exists—until
     8 it is in fact signed. In part, because discussions with the Rudsell/Burnell lawyers
     9 were contentious, Defendants were absolutely willing to explore a settlement with
    10 Peck and his lawyers under the right conditions, including settlement on an
    11 individual basis. See Mussig Decl. ¶¶ 2-3.
    12            In any event, Peck’s claim that his settlement demand was higher than that of
    13 the Plaintiffs is irrelevant, as Peck has never made a demand supported by any sort
    14 of analysis or evidence. Mussig Decl. ¶ 3. His demand therefore represents nothing
    15 more than wishful thinking.
    16 C.         The Settlement Class Should Be Conditionally Certified
    17            Named Plaintiffs also seek conditional certification of the class for settlement
    18 purposes only pursuant to FRCP 23(b)(3). Peck asserts various argument against
    19 conditional certification. All of his arguments fail.
    20            1.       The Settlement Class Definition is Precise and Ascertainable
    21            The proposed settlement class is defined in the Agreement as: “All drivers
    22 employed by Defendants to perform work in the State of California and who earned
    23 mileage-based compensation during the Settlement Class Period [March 22, 2006
    24 through January 31, 2019]. See Hawkins Decl., Ex. 1. Peck argues that the class
    25 definition is imprecise, and therefore invalid, and that it goes “well beyond what
    26 Burnell was litigating and far beyond the class definition that was presented for
    27 certification which was targeted to California residents assigned to a home terminal
    28 in California.” See Objection Brief, pp. 8-10. These arguments are nonsensical.
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     1 The parties have identified all potential class members based on the definition
     2 included in the agreement—there are exactly 19,626. See Mussig Dec., ¶ 4, Ex. 1.
     3 Peck cannot explain how the parties were able to determine the number of members
     4 if the definition is so “imprecise” as to be unintelligible.
     5            Moreover, Plaintiff fails to explain how the scope of the case has been
     6 expanded beyond “what Burnell was litigating” and it is absurd to suggest that
     7 Defendants will seek to expand the scope of the case. The settlement agreement
     8 contains a savings clause which precludes Defendants from inflating the number of
     9 settlement class members beyond the group included in mediation discussions.
    10 Specifically, paragraph 6(ii) of the agreement provides that: “in the event that the
    11 workweeks actually accrued during the Settlement Class Period by Class Members
    12 exceeds 850,000, the Gross Settlement Amount shall be increased by the percentage
    13 difference between that amount and the actual number of workweeks during the
    14 Settlement Class Period.” See Hawkins Decl., Ex. 1. Expanding the scope of the
    15 settlement would result in significant additional settlement funds.
    16            Because the parties have identified all potential class members, and the
    17 stipulated settlement agreement contains a “savings” clause which essentially
    18 prevents Defendants from adding class members without adding money to the
    19 settlement fund, Peck’s complaints about the class definition should be rejected.
    20            2.       The Denial of Certification in Burnell Does Not Preclude
    21                     Certification of the Settlement Class
    22            Peck argues that Named Plaintiffs fail to establish that the settlement class
    23 meets the standards set forth in Rule 23 because their preliminary approval motion
    24 fails to “address the deficiencies with the unsuccessful certification motion in
    25 Burnell.” Objection Brief, p. 10:17-22. However, Peck fails to recognize that the
    26 Court denied certification in Burnell primarily on manageability grounds. See Order
    27 Deny Class Certification, Dkt. 170 at p. 16 (“if Plaintiffs claims were litigated as a
    28 class action, the case would be unmanageable”) (emphasis added). As the U.S.
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     1 Supreme Court has made clear, manageability need not be considered in
     2 determining whether to certify a settlement class.                Amchem Products, Inc. v.
     3 Windsor, 521 U.S. 591, 620 (1997) (“Confronted with a request for settlement-only
     4 class certification, a district court need not inquire whether the case, if tried, would
     5 present intractable management problems . . . .”).             The denial of certification in
     6 Burnell does not preclude conditional certification of the settlement class.
     7                                       III.   CONCLUSION
     8            For all the reasons set forth above, Defendants respectfully request that the
     9 Court grant preliminary approval of the settlement and conditionally certify the
    10 settlement class.
    11
    12 Dated: June 24, 2019
    13                                      SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
    14
    15                                      By                  /s/ Paul Cowie
    16                                                            PAUL S. COWIE
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    17                                                              JOHN ELLIS
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                                                         SWIFT TRANSPORTATION CO. OF
    19                                                      ARIZONA, LLC and SWIFT
    20                                                    TRANSPORTATION COMPANY
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